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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  Milton Rudi,

                 Plaintiff,                     Case No. 2:20-cv-3068

        V.                                      Judge Michael H. Watson

  Leslie H. Wexner, et al.,                     Magistrate Judge Deavers

              Defendants.



                                   OPINIONAND ORDER

        Plaintiff Milton Rudi on behalf of himself and the Police and Fire

  Retirement System of the City of Detroit ("Detroit"), Oregon Public Employee

  Retirement Fund ("Oregon"), John Giarratano ("Giarratano"), Maryann Kualii

 ("Kualii"), and Nancy A. Lambrecht, Co-Trustee of the Amanda Greenfield 2012

  Irrevocable Trust ("Lambrecht") (collectively, the "Settling Shareholders") move

 for an order granting final approval of a derivative litigation settlement

 ("Settlement")1 with Defendants Leslie H. Wexner, Edward Razek, David T.

 Kollat, (collectively "Individual Defendants"), and L Brands, Inc. ("L Brands,"

 collectively "Defendants"). ECF No. 25. Settling Shareholders also move for an

 award of attorney's fees and expenses. ECF No. 26. Both motions are




 1 The Settlement is memorialized between the parties in a Stipulation and Agreement of
 Settlement dated July 29, 2021 . EOF No. 21-1.
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 unopposed. For the following reasons, Settling Shareholders' motions are

 GRANTED

                                I.    BACKGROUND

       The background of this case is laid out in great detail in the unopposed

 motion for final approval, ECF No. 25, and does not need to be repeated in-depth

 in this Opinion except as necessary to analyze the reasonableness of the

 Settlement. As a high-level overview, Settling Shareholders alleged that

 Defendants tolerated "pervasive and systematic sexual harassment" at L Brand's

 subsidiary, Victoria's Secret, which led to the company's reputational and

 financial losses. Mot. 2-3, ECF No. 25. After internal investigations and the

 filing of multiple lawsuits, the parties agreed on the Settlement. See ECF No. 21-

 1. On August 5, 2021, the Court preliminarily approved the Settlement. ECF No.

 24. On January 18, 2022, the Court held a fairness hearing. The Court now

 considers whether to grant final approval of the Settlement.

 A.    The Proposed Settlement

       The Settlement requires L Brands to implement the following corporate

 governance reforms:

          .   New stand-alone policies against sexual harassment and
              retaliation, for reporting of harassment and discrimination, and
              for investigation of harassment and discrimination complaints;

          .   Strengthen the process for reporting and investigating claims of
              sexual harassment, gender discrimination, and retaliation;

          .   Improved training for management and employees, including
              bystander training;

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           .   The creation and maintenance of a Diversity, Equity and
                Inclusion ("DEI") Council to oversee the reforms;

           .    Retaining a DEI expert and consultant to advise the DEI Council
               and conduct thorough reviews of policies and procedures, and
               audits to ensure that these policies and procedures are
               effective;

           .   Adopting a set of DEI Principles to foster a diverse and inclusive
               workplace culture;

           .   Collecting   and evaluating     data relating to harassment,
               retaliation, and the DEI Principles; and

           .   Bringing L Brands' policy on non-disclosure agreements into
               conformity with New York law, ending the use of mandatory
               arbitration provisions for disputes involving harassment, gender
               discrimination, and retaliation, and agreeing not to enforce pre-
               Settlement non-disclosure provisions that prohibit a
               complainant from discussing the underlying facts and
               circumstances of a sexual harassment claim.

 Mot. 5-6, ECF No. 25. Settling Shareholders represent that these reforms will

 significantly increase shareholder value, "likely in excess of $100 million. " Mot.
 10, ECFNo. 25.

 B.    Notice

       Settling Shareholders submitted a joint declaration from counsel, in which

 counsel declared that the parties complied with the notice provisions of the

 Preliminary Approval Order by:

       (a) Announcing the Settlement via a Form 8-K and a press release
          on July 30, 2021; and

       (b) Filing notice of the Settlement via a Form 8-K with the United
          States Securities and Exchange Commission on September 8,
          2021.



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 See Joint Decl. ^ 32, ECF No. 25-2. The Court finds that there was sufficient

 notice provided to shareholders pursuant to Federal Rule of Civil Procedure 23. 1.

              II.   APPROVAL OF THE PROPOSED SETTLEMENT

       This derivative action may be settled only with the Court's approval. Fed.

 R. Civ. P. 23. 1(c). The Court "enjoys wide discretion in evaluating the settlement

 of derivative actions under Rule 23. 1. " McDannold v. Star Bank, N. A., 261 F. 3d

 478, 488 (6th Cir. 2001) (citing Granada Invs., Inc. v. DWG Corp., 962 F.2d

 1203, 1205-06 (6th Cir. 1992)). "Settlements are welcome" in derivative actions

 and, "[a]bsent evidence of fraud or collusion, such settlements are not to be

 trifled with. " Granada, 962 F.2d at 1205 (citations omitted). Relevant factors in

 evaluating the settlement "include the likelihood of success on the merits, the risk

 associated with the expense and complexity of litigation, and the objections

 raised by class members. " Id. (citations omitted). At times, courts also consider

 the other Rule 23(e) factors in determining whether a derivative action settlement

 should be approved. See In re Big Lots, Inc. S'holder Litig., No. 2:12-CV-445,

 2018 WL 11356561, at *2 (S. D. Ohio Aug. 28, 2018) ("This Court has, on at least

 one occasion, also considered the other Rule 23(e) factors in determining

 whether a derivative action settlement should be approved. " (citation omitted)).

 Based on these factors, the Court determines that the Settlement is fair,

 reasonable, and adequate.




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 A.     Likelihood of Success on the Merits

        "The most important of the factors to be considered in reviewing a

 settlement is the probability of success on the merits. The likelihood of success,

 in turn, provides a gauge from which the benefits of the settlement must be

 measured. " Poplar Creek Dev. Co. v. Chesapeake Appalachia, L. L. C., 636 F. 3d

 235, 245 (6th Cir. 2011) (quoting In re Gen. Tire & Rubber Co. Sec. Litig., 726

 F. 2d 1075, 1086 (6th Cir. 1984)).

        Both in the motion for final approval and at the fairness hearing, Settling

 Shareholders asserted that they faced significant risks to successfully

 prosecuting their claims, including defeating likely-to-be-filed dispositive motions.

 Mot. 16-17, ECF No. 25. Settling Shareholders point to three obstacles they

 would have faced without the Settlement. Id. First, they would have had to

 establish that the L Brands board could not objectively consider a litigation

 demand; second, they would have had to establish liability on the notoriously

 difficult-to-win Caremark c\a\m;   and third, any success Settling Shareholders

 managed to achieve would come only after protracted litigation. Id. So, the

 likelihood of success for Settling Shareholders was far from assured- and this

 factor weighs in favor of approving the Settlement.

 B.     Complexity, Expense, and Likely Duration of the Litigation
       As the Sixth Circuit has noted, derivative actions are "notoriously difficult

 and unpredictable. " Granada, 962 F.2d at 1205 (quoting Maher v. Zapata Corp.,

 714 F. 2d 436, 455 (5th Cir. 1983)). "[A]voiding the delay, risks, and costs of

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  continued litigation against a defendant is a valid reason for counsel to

  recommend and for the court to approve a settlement. " In re Big Lots, Inc.

  S'holder Litig., 2018 WL 11356561, at *3. (internal quotation marks and citation

 omitted).

        Absent settlement, continued litigation of this case would likely take years

 and result in the parties incurring significant expense. There are complex issues

 of law that would need to be briefed and decided, and, assuming some claims

 survived a motion to dismiss, the parties would have to engage in significant

 discovery, briefing for summary judgment, and possible trial and appeals.

 Additionally, the parties are represented by very sophisticated counsel that would

 undoubtedly vigorously prosecute and defend the claims in this case. This

 supports settlement.

 C.     Objections Raised by Shareholders

       After having provided sufficient notice, no shareholder objected to the

 settlement. This is strong evidence that shareholders believe the settlement to

 be fair, reasonable, and adequate.

 D.    The Amount of Discovery Engaged in by the Parties

       To confirm that Settling Shareholders "have had access to sufficient

 information to evaluate their case and to assess the adequacy of the proposed

 Settlement, " the Court considers the amount of discovery engaged in by the

 parties. In re Broadwing, Inc. ERISA Litig., 252 F. R. D. 369, 374 (S. D. Ohio

 2006). "In considering whether there has been sufficient discovery to permit the

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  plaintiffs to make an informed evaluation of the merits of a possible settlement,

 the court should take account not only of court-refereed discovery but also

  informal discovery in which parties engaged both before and after litigation

 commenced. " UAWv. Gen'l Motors Corp., No. 05-CV-73991-DT, 2006 WL

 891151, at *19 (E. D. Mich. Mar. 31, 2006). In this consideration, "the absence of

 formal discovery is not unusual or problematic, so long as the parties and the

 court have adequate information in order to evaluate the relative positions of the

 parties. " Id.

        Here, Settling Shareholders conducted "comprehensive investigations,"

 both independently and in conjunction with L Brands' Special Committee. Mot.

 18, ECF No. 25. Settling Shareholders were able to review non-public

 documents, as well as numerous versions of the L Brands' code of conduct, anti-

 harassment, discrimination, and retaliation policies, reporting and investigations

 protocols, model photoshoot protocols, Board and Committee minutes and

 presentations (including presentations regarding complaints received), Special

 Committee minutes, severance and settlement agreements, and internal

 complaints. Id. There has been no indication that Settling Shareholders lacked

 information necessary to assess the strength of their case, which supports

 approval of the Settlement.

 E.     Arm's-Length Negotiation

        The Court finds that there is no evidence-or even a suggestion-that the

 Settlement was the product of fraud or collusion. "Absent evidence to the

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 contrary, courts presume the absence of fraud or collusion. " In re Wendy's Co.

  S'holder Derivative Action, No. 1 :16-CV-1153, 2020 WL 13169460, at *7 (S. D.

 Ohio Jan. 24, 2020) (discussing preliminary approval of a settlement); see a/so

 IUE-CWA v. Gen. Motors Corp., 238 F. R. D. 583, 598 (E. D. Mich. 2006) (noting,

 on a motion for final approval of a class action settlement, that "Courts presume

 the absence of fraud or collusion unless there is evidence to the contrary"). The

 Settlement is the result of numerous meetings, presentations, and two separate

 mediations with a retired federal district court judge as mediator. This favors

 approving the Settlement.

 F.     The Opinion of Counsel

        The Court gives significant weight to the opinions of Settling Shareholders'

 counsel, who have indicated that the Settlement is fair, reasonable, and

 adequate. See Joint Decl., ECF No. 25-2; see a/so, e. g., Williams v. Vukovich,

 720 F. 2d 909, 922-23 (6th Cir. 1983) ("The court should defer to the judgment of

 experienced counsel who has competently evaluated the strength of his proofs

 ...   FT]he deference afforded counsel should correspond to the amount of

 discovery completed and the character of the evidence uncovered. "). L brands,

 through the Special Committee, agrees that the Settlement "confers a substantial

 benefit on L Brands and its shareholders. " Mot. 19, ECF No. 25.

        In this case, counsel have extensive experience in complex shareholder

 derivative and class action litigation and corporate matters. See Joint Decl.

 1HI 71-73, ECF No. 25-2; ECF No. 26-2-26-9 (explaining the years of experience

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 and background of counsel). After significant discovery and protracted arm's-

 length negotiations, the parties reached the Settlement. Equipped with extensive

 experience, counsel have concluded that the Settlement is a good result for the

 parties. 2 The Court therefore finds that this factor favors approval of the

 Settlement.

          After considering the relevant factors, the Court APPROVES the

 Settlement.

   III.     ATTORNEY'S FEES AND COSTS; EXPENSES; SERVICE AWARDS

          Settling Shareholders move for attorney's fees and costs, expenses, and

 service awards. ECF No. 26. The Court considers each request, in turn.

 A.       Attorney's fees

          Settling Shareholders move for an award of attorney's fees and costs.

 ECF No. 26. Defendants do not oppose. To assess the reasonableness of the

 fee request, the Court first determines the method Settling Shareholders' counsel

 used to calculate the fee. In this case, Settling Shareholders are seeking a

 percentage of the fund award. Specifically, Settling Shareholders' counsel seeks

 $21 million in fees, which represents 21% of the $100 million projected increase

 in shareholder value as a result of the Settlement. Fee Mot. 2, ECF No. 26.




 2 Further, the Oregon Attorney General appointed Special Counsel to investigate the
 allegations in this case and potentially file another complaint on its behalf. The Special
 Counsel appeared at the Fairness Hearing and represented that the State of Oregon
 agrees with this Settlement.
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         Next, the Court must analyze the factors laid out in Ramey v. Cincinnati

  Enquirer, Inc., which include:

         1) the value of the benefit rendered to the corporation or its
         stockholders, 2) society's stake in rewarding attorneys who produce
         such benefits in order to maintain an incentive to others, 3) whether
         the services were undertaken on a contingent fee basis, 4) the value
         of the services on an hourly basis, 5) the complexity of the litigation,
         and 6) the professional skill and standing of counsel involved on both
         sides.


  508 F. 2d 1188, 1196 (6th Cir. 1974). Each of these factors favors approving the

  requested attorney fee award.

         First, the Court finds that the Settlement confers a substantial benefit on

  Settling Shareholders. As described both in the motion for final approval of the

  Settlement and at the fairness hearing, the corporate governance reforms that

  are included in the Settlement will be meaningful in preventing any future

  misconduct by L Brands' officers and directors and are estimated to produce a

  $100 million increase in shareholder value.

         Second, society's stake in rewarding attorneys who produce demonstrable

  benefits supports an award of the requested attorney's fees. It is certainly in

  society's interest to have fiduciary laws and regulations enforced. If experienced

  counsel, such as the attorneys who represented Settling Shareholders here,

  were unwilling to take on derivative action lawsuits for fear of not being

  compensated, it would be more difficult to enforce accountability for officers and

  directors.


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         Third, Settling Shareholders' counsel agreed to undertake this case on a

  wholly contingent basis. See Fee Mot. 16, ECF No. 26. In doing so, Settling

  Shareholders' counsel assumed a real risk by expending time, effort, and money

  with no guarantee of recovery. This factor weighs in favor of approving the

  requested fee award.

         The Court next considers whether the fourth factor, the value of the

  services on an hourly basis, favors the proposed fee award. A cross-check using

  Settling Shareholders' counsel's lodestar weighs in favor of granting the

  requested fee award. Settling Shareholders' counsel has provided evidence that

  they incurred a total lodestar of $7, 528, 264. 25 in attorney's fees. See Joint Decl.

  IT64. The Court has reviewed the declarations of Settling Shareholders' counsel

  and finds the blended rate charged and hours incurred to be reasonable based

  on the location and experience of counsel. Therefore, the requested lodestar

  multiplier with respect to fees is approximately 2. 75. Because of the inherent

  risks of litigation, courts in this district award multipliers of "between

  approximately 2. 0 and 5. 0. " See Koenig v. USA Hockey, Inc., No. 2:09-CV-1097,

  2012 WL 12926023, at*10 (S. D. Ohio Jan. 10, 2012). The 2. 75 multiplier falls at

 the low end of that reasonable range. See Dillow v. Home Care Network, Inc.,

  No. 1:16-cv-612, 2018 WL 4776977, at *7 (S. D. Ohio Oct. 3, 2018) (finding a 2.9

  multiplier appropriate); see a/so Lowther v. AK Steel Corp., No. 1:11-cv-877,

 2012 WL 6676131 , at *5 (S. D. Ohio Dec. 21, 2012) (approving

  3. 06 multiplier and citing cases with multipliers ranging from 4. 3 to 8. 5)). The
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  Court finds that Settling Shareholders' counsel's hourly rates are reasonable

  under the circumstances of this particular case. Accordingly, this factor weighs in

  favor of granting the requested fee.

        The remaining two factors, the complexity of the litigation and the

  professional skill and standing of the attorneys involved, have been discussed

  above and also support approving the attorney's fee request.

        For all of these reasons, Settling Shareholders' counsel's request for $21

  million in attorney's fees is reasonable.

  B.    Expenses

        Under the      common      fund   doctrine ... counsel   is entitled   to
        reimbursement of all reasonable out-of-pocket expenses and costs in
        the prosecution of claims, and in obtaining settlement, including but
        not limited to expenses incurred in connection with document
        productions, consulting with and deposing experts, travel and other
        litigation-related expenses.

  In re Big Lots, Inc. S'holder Litig., 2018 WL 11356561 , at *6 (internal quotation

  marks and citation omitted).

        Settling Shareholders' counsel has provided documentation to support

  $311, 884. 21 in expenses in prosecuting this action. These expenses include,

  among other things, mail costs, meals, transportation, legal research, copying

  costs, telephone expenses, and court filing fees. See, e. g., Scott Decl. ^15,

  ECF No. 26-2; Reiser Decl. ^ 15, ECF No. 26-5. These types of expenses are

  reasonable and necessary, and, therefore, the Court approves the request of

  $311, 884. 21 for litigation expenses. See Rikos v. Proctor & Gamble Co., No.


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  1:11-CV-226, 2018 WL 2009681, at *10 (S. D. Ohio Apr. 30, 2018) (approving

  similar types of expenses totalling over $360, 000).

  C.    Service Awards

        Service "awards are efficacious ways of encouraging members of a class

  to become class representatives and rewarding individual efforts taken on behalf

  of the class. " Hadix v. Johnson, 322 F. 3d 895, 897 (6th Cir. 2003) (reviewing

  such awards under an abuse of discretion standard). Notably, "courts routinely

  approve incentive awards to compensate named plaintiffs for the services they

  provided and the risks they incurred during the course of the class action

  litigation. " Dilworth v. Case Farms Processing, Inc., No. 5:08-cv-1694, 2010 WL

  776933, at *7 (N. D. Ohio Mar. 8, 2010) (internal quotation marks and citations

  omitted). Federal district courts also approve service awards in shareholder

  derivative actions. See, e. g., In re Wells Fargo & Co. S'holder Derivative Litig.,

  445 F. Supp. 3d 508, 534 (N. D. Cal. 2020), aff'd, 845 F. App'x 563 (9th Cir

  2021) (finding $25, 000 incentive awards "justified and reasonable" in a

  shareholder derivative action); In re Fab Universal Corp. S'holder Derivative

  Litig., 148 F. Supp. 3d 277, 285 (S. D. N.Y. 2015) (approving $2, 500 service
  awards in a shareholder derivative case).

        Here, some counsel propose an award of $10, 000 to certain Settling

  Shareholders as an incentive for bringing and pursuing this action on behalf of all

  shareholders. ECF No. 26. This request is reasonable when compared with

  other awards in this district. See, e. g., Rotondo v. JPMorgan Chase Bank, N. A.,

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  No. 2:19-cv-2328, 2019 WL 6167086, at *8-9 (S. D. Ohio Nov. 20, 2019), report

  and recommendation adopted, 2019 WL 6496806 (S. D. Ohio Dec. 2, 2019)

  (approving $20, 000 service awards); Owner-Operator Indep. Drivers Ass'n, Inc.

  v. Arctic Express, Inc., No. 97-cv-750, 2016 WL 5122565, at *7 (S. D. Ohio Sept.

  21, 2016) ($25, 000); Enter. Energy Corp. v. Columbia Gas Transmission Corp.,

  137 F. R. D. 240, 251 (S. D. Ohio 1991) ($50, 000). In light of their service, and the

  substantial benefit provided, the Court approves service awards of $10, 000 to

  Settling Shareholders Rudi, Detroit, Lambrecht, and Giarratano.

                                  IV.    CONCLUSION
         For these reasons, the Court GRANTS the unopposed motion for final

  approval of the settlement, ECF No. 25, GRANTS the unopposed motion for an

  award of attorney's fees and expenses, ECF No. 26, and ORDERS as follows:

         1.    The Settlement is a fair, reasonable, and adequate resolution to this

  case for all parties, and is finally approved;

        2.     To the extent not already done, the parties are ORDERED to

  perform under the terms of the Settlement;

        3.     Settling Shareholders' counsel are awarded $21, 000, 000 in

  attorney's fees and $311, 884. 21 in expenses, which shall be paid to lead counsel

 for distribution in accordance with the Settlement;

        4.     Settling Shareholders Rudi, Detroit, Lambrecht, and Giarratano are

 each awarded $10, 000 in semce awards.



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        5.    The Court retains jurisdiction over this matter for purposes of

  enforcing the Settlement;

        6.    This action is DISMISSED WITH PREJUDICE, with each party to

  bear its own costs, except as described above. The Clerk is DIRECTED to enter

  FINAL JUDGMENT and close the case.

        IT IS SO ORDERED.


                                        IVICHAEL H. WATSON, JUDGE
                                        UNITED STATES DISTRICT COURT




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